UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
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In re:


Karen A Nowak,                                                        Case No. 1-19-10808-MJK

                                                                      Chapter 7

                                                                      HON. Michael J. Kaplan

                  Debtor(s).
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                       MOTION FOR RELIEF FROM AUTOMATIC STAY

TO:      THE HONORABLE MICHAEL J. KAPLAN
         UNITED STATES BANKRUPTCY JUDGE

         Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d)(1) and (d)(2), for a

modification of the automatic stay provisions for cause, and, in support thereof, states the

following:

1.       Debtor(s), Karen A Nowak, filed a voluntary petition pursuant to Chapter 7 of the United

States Bankruptcy Code on April 22, 2019.

2.       On November 24, 2010, Debtor(s) executed and delivered a Promissory Note (“Note”) and

a Consolidation, Extension, and Modification (“Mortgage”) securing payment of the Note in the

amount of $83,950.00, of this amount $3,041.60 was advanced to Debtor(s), to HSBC Mortgage

Corporation (USA). The Mortgage was recorded on December 17, 2010 in Instr # 2010-21240 of

the Public Records of Niagara County, New York. The Mortgage was assigned to Secured

Creditor. True and accurate copies of documents establishing a perfected security interest and

ability to enforce the terms of the Note are attached hereto as Composite Exhibit “A.” The

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documents include copies of the Note with any required indorsements, Recorded Mortgage,

Assignment(s) of Mortgage, and any other applicable documentation supporting the right to seek

a lift of the automatic stay and foreclose, if necessary.

3.   Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgements,

mortgages, and security agreements in support of right to see a lift of the automatic stay and

foreclose if necessary.

4.     The mortgage provides Secured Creditor a lien on the real property located at 3271 Porter

Center Road, Porter, NY 14174, in Niagara County, and legally described as stated in the mortgage

attached in Composite Exhibit “A.”

5.     The terms of the aforementioned Note and Mortgage have been in default, and remain in

default, since January 1, 2019, with arrears in the amount of $2,032.48 as of April 24, 2019. A true

and accurate copy of Secured Creditor’s statement in regard to indebtedness and default is attached

hereto as Exhibit “B.” As per the Secured Creditor’s statement the total amount due is $64,466.86.


6.     The stated value of the property is $69,900.00. See Exhibit “C” which is attached hereto

and permissible as a property valuation under Fed. R. Evid. 803(8). The subject property is also

encumbered by additional liens in the amount of $4,003.20.

7.     Based upon the Debtor(s)’ schedules, the property is claimed as exempt. The Trustee has

not abandoned the property.

8.     Secured Creditor’s security interest in the subject property is being significantly

jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents while

Secured Creditor is prohibited from pursuing lawful remedies to protect such interest. Secured



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Creditor has no protection against the erosion of its collateral position and no other form of

adequate protection is provided.

9.      If Secured Creditor is not permitted to enforce its security interest in the collateral or be

provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10.     Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

this case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of adequate

protection to Secured Creditor for its interest in the above stated collateral. The value of the

collateral is insufficient in and of itself to provide adequate protection which the Bankruptcy Code

requires to be provided to the Secured Creditor. Secured Creditor additionally seeks relief from

the Automatic Stay pursuant to §362(d)(2) of the Bankruptcy Code, as the collateral is unnecessary

to an effective reorganization of the Debtor’s assets.

11.     The Trustee shall be notified of any surplus monies realized upon sale of the property in a

foreclosure proceeding brought by Secured Creditor.

12.     No previous application has been made for the relief request herein.

13.     Secured Creditor requests approval of legal fees in amount of $750.00 and costs in the

amount of $181.00 associated with this motion. Such fees and costs would not be collectable from

the Debtor or chargeable to the Debtor’s Bankruptcy estate.


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       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d)(1) and (d)(2) to permit Secured Creditor to take any

and all steps necessary to exercise any and all rights it may have in the collateral described herein,

to gain possession of said collateral, to seek recovery of its reasonable attorneys’ fees and costs

incurred in this proceeding, and for any such further relief as this Honorable Court deems just and

appropriate.



Dated: June 3, 2019
       Westbury, NY
                                               By: /s/ Barbara Whipple____
                                               Barbara Whipple, Esq.
                                               Attorneys for Movant
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                                               Westbury, New York 11590
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